                    Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 1 of 43




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               Limited, Les Mills Music Licensing Limited, Les
             7 Mills Media Limited, and Les Mills Media U.S.,
               Inc.
             8

             9
             10                            UNITED STATES DISTRICT COURT
             11             NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
             12

             13 LES MILLS INTERNATIONAL LIMITED,                   Case No.
                LES MILLS MUSIC LICENSING LIMITED,
             14 LES MILLS MEDIA LIMITED, and LES                   COMPLAINT
                MILLS MEDIA, U.S., INC.,
             15                                                    (1) Violation of the Defend Trade Secrets
                              Plaintiffs,                          Act (18 U.S.C. § 1836, et seq.)
             16
                      v.                                           (2) Violation of the California Uniform
             17                                                    Trade Secrets Act (Cal. Civ. Code § 3426, et
                Jean-Michel Fournier,                              seq.)
             18
                              Defendant.                           (3) Breach of Contract
             19

             20                                                    JURY TRIAL DEMANDED
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                                                                                                         Case No.
18094171.1                                               COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 2 of 43




              1         Plaintiffs Les Mills International Limited, Les Mills Music Licensing Limited, Les Mills

              2 Media Limited, and Les Mills Media U.S., Inc. (collectively, “Les Mills” or “Plaintiffs”) complain

              3 against Defendant Jean-Michel Fournier (“Fournier” or “Defendant”) as follows:

              4                                           THE PARTIES
              5         1.      Plaintiff Les Mills International Limited (“LMI”) is a New Zealand corporation

              6 with a principal place of business located in Auckland, New Zealand. LMI is a global fitness

              7 company with offices throughout the world and is the parent company to Les Mills Music

              8 Licensing Limited, Les Mills Media Limited, and Les Mills Media U.S., Inc.

              9         2.      Plaintiff Les Mills Music Licensing Limited is a New Zealand corporation with a
             10 principal place of business located in Auckland, New Zealand. Les Mills Music Licensing Limited

             11 handles Les Mills’ music licenses.

             12         3.      Plaintiff Les Mills Media Limited is a New Zealand corporation with a principal
             13 place of business located in Auckland, New Zealand. Les Mills Media Limited is the parent

             14 company to Les Mills Media U.S., Inc. and is licensed to use LMI’s trademarks to develop

             15 personal health and fitness multi-media fitness resources.

             16         4.      Plaintiff Les Mills Media U.S., Inc. (“Les Mills U.S.”) is a Delaware corporation,
             17 with a principal place of business is located in San Jose, California. However, Les Mills’ United

             18 States based headquarters, and the principal place of business of Les Mills United States Trading,

             19 Inc. (“LMUST”), is located in Chicago, Illinois. Les Mills U.S. is a leading group fitness company

             20 providing a variety of exercise course offerings to a growing customer base with both in-person

             21 and virtual, at-home exercise class options. Les Mills U.S. is a subsidiary of Les Mills Media

             22 Limited and is part of the LMI group of companies.

             23         5.      Defendant Jean-Michel Fournier is the former Chief Executive Officer (“CEO”) of

             24 Les Mills U.S. and worked for the company from on or about December 1, 2016 to on or about

             25 October 29, 2021. From approximately December 1, 2016 until approximately September 1, 2021,

             26 Mr. Fournier served as Les Mills U.S.’s CEO. At Mr. Fournier’s request, he resigned as the CEO,

             27 and negotiated a part time executive role for Les Mills. From September 1, 2021 to October 29,

             28 2021, Mr. Fournier worked in a part-time role as an Early Stage Ventures Lead for Les Mills U.S.

                                                               -2-                                           Case No.
18094171.1                                                  COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 3 of 43




              1 On information and belief, Mr. Fournier currently resides in San Jose, California.

              2                                      JURISDICTION AND VENUE
              3          6.        This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

              4 and 18 U.S.C. § 1836(c), as it arises under the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.

              5          7.        This Court has supplemental jurisdiction over Plaintiffs’ state law claims under the

              6 California Uniform Trade Secret Act, Cal. Civ. Code § 3426, et seq. and for breach of contract

              7 under 28 U.S.C. § 1367(a) because Plaintiffs state law claims are so closely related to their federal

              8 claim that they form part of the same case or controversy under Article III of the United States

              9 Constitution.
             10          8.        This Court also has subject matter jurisdiction over this action under 28 U.S.C.
             11 § 1332(a). LMI, Les Mills Music Licensing Limited, and Les Mills Media Limited are citizens of

             12 New Zealand. Les Mills U.S. is a citizen of Delaware. On information and belief, Defendant

             13 Fournier is a citizen of California. The amount in controversy exceeds $75,000.

             14          9.        Venue is proper in the United States District Court for the Northern District of
             15 California under 28 U.S.C. § 1391 because Defendant resides in the Northern District of

             16 California and a substantial part of the events and omissions giving rise to the claims asserted

             17 occurred in this District.

             18                                   INTRADISTRICT ASSIGNMENT
             19          10.       A substantial part of the events and omissions which give rise to the claims asserted

             20 took place in Santa Clara County, California. Thus, under Civil Local Rule 3-2(c) and (e), this

             21 action should be assigned to the San Jose Division of this District.

             22                                       FACTUAL ALLEGATIONS
             23                Les Mills develops and protects Confidential and Trade Secret Information.
             24          11.       LMI is a leading fitness company providing a variety of exercise course offerings

             25 to a growing customer base with both traditional in-person (direct to business, i.e., gyms) and

             26 virtual at-home exercise class (direct to consumer) options. LMI is the group parent company and

             27 is incorporated in New Zealand. Les Mills U.S. is a United States company that employed

             28 defendant Fournier and is a subsidiary of Les Mills Media Limited, which is a New Zealand

                                                                  -3-                                            Case No.
18094171.1                                                     COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 4 of 43




              1 company that is licensed to use LMI’s trademarks to develop personal health and fitness multi-

              2 media fitness resources. Les Mills Music Licensing Limited is a New Zealand based company that

              3 handles Les Mills’ music licenses. All four Plaintiffs are collectively referred to herein as “Les

              4 Mills” or “Plaintiffs.” Stemming in part from the COVID-19 pandemic and related stay-at-home

              5 public health orders, Les Mills used its proprietary content, its trainers turned influencers, and

              6 music licensing deals to accelerate its virtual online offerings made directly to consumers.

              7 Through years of hard work and substantial monetary investment, Les Mills has placed itself at the

              8 forefront of the group exercise industry, offering cutting edge group fitness classes to customers

              9 throughout the United States and the rest of the world.
             10          12.     To achieve and maintain a leadership position in the group fitness industry, Les
             11 Mills has invested substantial time, effort, and money in developing technology, procedures,

             12 business and licensing agreements, and its customer base. The results of these efforts include, but

             13 are not limited to, strategic business relations, licensing, product strategies, and proprietary

             14 processes. Plaintiffs’ confidential, proprietary, and trade secret information includes, but is not

             15 limited to, Plaintiffs’ emails containing privileged internal communications, financial statements,

             16 prospective customer bids, confidential business agreements, details about potential new business

             17 opportunities, internal pricing information, detailed customer account information, strategic

             18 planning information, operational plans, sales targets, information regarding strategic alliances,

             19 and music licensing agreements (collectively, “Confidential and Trade Secret Information”). This

             20 Confidential and Trade Secret Information and know-how took decades to develop, and is worth

             21 millions of dollars to Les Mills and forms the basis for their business.

             22          13.     Les Mills has spent decades developing the processes and systems that consist of its

             23 Confidential and Trade Secret Information. Les Mills’ Confidential and Trade Secret Information

             24 is extremely valuable to Les Mills, and would be to any competitor. Access to the Confidential

             25 and Trade Secret Information would enable competitors to adopt Les Mills’ business processes

             26 and strategies, including, but not limited to, prospective customer bids and lists, confidential

             27 business agreements, details about potential new business opportunities, detailed information

             28 about existing customers, internal sales and pricing information, information regarding strategic

                                                                 -4-                                               Case No.
18094171.1                                                    COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 5 of 43




              1 alliances, and information regarding confidential music licensing agreements.

              2         14.     Les Mills’ Confidential and Trade Secret Information has independent economic

              3 value and is not generally known to the public. In addition, as alleged herein, Les Mills has taken

              4 reasonable and appropriate steps to maintain the confidentiality of its Confidential and Trade

              5 Secret Information.

              6         15.     By this action, Les Mills is taking a necessary step to ensure that its Confidential

              7 and Trade Secret Information does not become public or known to its competitors. In order to

              8 protect is Confidential and Proprietary Information, Les Mills requires all employees to sign

              9 employment agreements with confidentiality provisions that prohibit dissemination of confidential
             10 information outside Les Mills except under limited circumstances. In addition, Les Mills U.S.-

             11 issued employee laptops are password protected, as is Les Mills U.S.’ computer network. In

             12 addition, all Les Mills U.S. employees agree to abide by an Acceptable Use Policy regarding Les

             13 Mills U.S.-owned equipment and access to the Les Mills computer network. As described below,

             14 Les Mills also took reasonable steps to protect its Confidential and Trade Secret Information

             15 through its agreements with Mr. Fournier.

             16   Defendant Fournier Promises to Protect and Return Les Mills’ Confidential and Trade Secret
             17                  Information as a Condition of His Employment at Les Mills U.S.
             18         16.     On or about December 1, 2016, Les Mills U.S. hired Fournier to serve as its Chief

             19 Executive Officer. As CEO of Les Mills U.S., Fournier was responsible for leveraging LMI’s Les

             20 Mills On Demand video on demand streaming service launched in 2015 as its primary consumer

             21 product and scaling the business to achieve key metrics. He led its worldwide consumer business

             22 and direct to consumer digital portfolio products. Fournier served as Les Mills U.S.’ CEO from

             23 December 1, 2016 until he voluntarily stepped down to work fewer hours on or about September

             24 1, 2021. Attached hereto as Exhibit A is a true and correct copy of Mr. Fournier’s December 1,

             25 2016 Employment Agreement (“CEO Agreement”).

             26         17.     On or about September 7, 2021, Fournier executed an End of Full Time

             27 Employment Agreement with Les Mills U.S., which documented Fournier’s decision to resign

             28 from his full-time CEO position from the company. Attached hereto as Exhibit B is a true and

                                                                -5-                                             Case No.
18094171.1                                                   COMPLAINT
                         Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 6 of 43




              1 correct copy of the executed End of Full Time Employment Agreement.

              2            18.    On or about September 7, 2021, Fournier accepted a part-time, nine month position

              3 at Les Mills U.S., which he led and negotiated, where he agreed to work two days a week in the

              4 position of “Early Stage Ventures Lead.” A true and correct copy the signed offer sheet for the

              5 part-time Early Stage Ventures Lead position is attached hereto as Exhibit C (“Early Stage

              6 Ventures Lead Agreement”).

              7            19.    About a month and a half after accepting the Early Stage Ventures Lead position,

              8 via a text message to LMI’s CEO, Clive Ormerod, Fournier resigned from Les Mills U.S. on or

              9 about October 18, 2021, with an effective resignation date of October 29, 2021.
             10            20.    As part of his employment as CEO, and later as its Early Stage Ventures Lead, Les
             11 Mills U.S. provided Fournier with two MacBook Pro laptop computers and an iPad Pro 12 for him

             12 to conduct his work. Through his employment, Fournier had access to Les Mills-owned property,

             13 such as hardware (including, but not limited to, computers, laptops, thumb drives, and similar

             14 devices), electronically-stored information and other digital files, cloud accounts, smart phones,

             15 iPads, electronic access keys, trade secrets, proprietary information, information relating to Les

             16 Mills’ music licensing arrangements, business strategy and governance, information related to

             17 customers, information related to employees, customer lists, vendor lists, supplier lists, and pricing

             18 lists.

             19            21.    Fournier’s CEO Agreement, the End of Full Time Employment Agreement, and the

             20 Early Stage Ventures Lead Agreement with Les Mills U.S. provided the terms and conditions of

             21 his employment.

             22            22.    Through his execution of the CEO Agreement, Fournier expressly agreed that

             23            during his employment and for a period of two (2) years thereafter, he will hold in
                           confidence all Confidential Information of the Company1 and the Associated
             24            Companies 2 that came into his knowledge during his employment by the Company
                           and will not disclose, publish[,] or make use of such Confidential Information
             25            without the prior written consent of the Company, except to the extent disclosure of

             26
                  1   “Company” is defined in the CEO Agreement as Les Mills Media U.S., Inc.
             27   “Associated Companies” is defined as “any parent or subsidiary of the Company and any entity
                  2

             28 in which the Company has a twenty percent or greater ownership interest.” (CEO Agreement,
                § 8(a).)
                                                                 -6-                                              Case No.
18094171.1                                                    COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 7 of 43




              1          Confidential Information is mandated by a court order or is otherwise necessary to
                         comply with applicable laws.
              2

              3 (CEO Agreement, § 8(c).)

              4          23.    Through his execution of the CEO Agreement, Fournier further agreed

              5          to hold in confidence all Trade Secrets of the Company and the Associated
                         Companies that came into his knowledge during his employment by the Company
              6          and shall not disclose, publish, or make use of at any time after the date hereof such
                         Trade Secrets without the prior written consent of the Company for as long as the
              7          information remains a Trade Secret, except to the extent disclosure of a Trade
                         Secret is mandated by a court order or is otherwise necessary to comply with
              8          applicable laws.

              9 (CEO Agreement, § 8(d).)
             10          24.    The CEO Agreement defines “Confidential Information” as:
             11          any data or information (other than Trade Secrets) owned by the Company or any
                         Associated Companies that is proprietary and confidential in nature and not
             12          generally known to the public or to competitors in the industry, including, but not
                         limited to, any non-public information (regardless of whether in writing or retained
             13          as personal knowledge) pertaining to research and development; product costs and
                         processes; stockholder information; pricing, cost, or profit factors; quality
             14          programs; annual budget and long-range business plans; marketing plans and
                         methods; contracts and bids; and personnel.
             15

             16 (CEO Agreement, § 8(a).)

             17          25.    The CEO Agreement further defines “Trade Secret” as “trade secret as defined by
             18 applicable state law.” (CEO Agreement, § 8(a).) Because the CEO Agreement is governed by the

             19 “laws of the state of California” (id., § 22), “trade secret” means:

             20          information, including a formula, pattern, compilation, program, device, method,
                         technique, or process, that: (1) [d]erives independent economic value, actual or
             21          potential, from not being generally known to the public or to other persons who can
                         obtain economic value from its disclosure or use; and (2) [i]s the subject of efforts
             22          that are reasonable under the circumstances to maintain its secrecy.

             23 Cal. Civ. Code, § 3426.1(d).

             24          26.    In addition to agreeing to hold in confidence all Confidential Information and

             25 Trade Secret Information and to not “disclose, publish[,] or make use” of such information

             26 “without the prior written consent of [Les Mills U.S.],” Fournier also expressly agreed to the

             27 following “Return of Company Property” provision in the CEO Agreement:

             28          All records, designs, patents, business plans, financial statements, manuals,

                                                                -7-                                               Case No.
18094171.1                                                   COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 8 of 43




              1          memoranda, customer lists, computer data, computer information, and other
                         property or information delivered to or compiled by [Fournier] by or on behalf of
              2          the Company (including the respective subsidiaries thereof) or its representatives,
                         vendors[,] or customers shall be and remain the property of the Company, and be
              3          subject at all times to its discretion and control. Upon the request of the Company
                         and in any event, upon the termination of [Fournier’s] employment with the
              4          Company, [Fournier] shall deliver all such materials to the Company.
              5 (CEO Agreement, § 9 (emphasis added.)

              6          27.    Consistent with the above confidentiality provisions of the CEO Agreement,

              7 Fournier’s End of Full Time Employment Agreement specifically provided as follows:

              8          You [Fournier] acknowledge that your obligations under Section 8 through 11 and
                         19 of your [CEO] Employment Agreement survive termination in accordance with
              9          their terms. To enable the Company to exercise its rights under Section 11 of your
                         [CEO] Employment Agreement, You [Fournier] agree to notify the Company if
             10          you accept employment or agree to provide services to a competitor of the
                         Company or Les Mills Group.
             11

             12 (End of Full Time Employment Agreement, ¶ 6 (emphases in original).)

             13          28.    In addition, Fournier’s Early Stage Ventures Lead Agreement contained the

             14 following additional express provisions regarding confidentiality and duty of loyalty to Les Mills:

             15          You [Fournier] agree to keep confidential information regarding Les Mills Media
                         U.S., Inc. and the Les Mills Group that comes to your attention in the course of
             16          performing your duties confidential and not to share with any third parties without
                         Les Mills Media U.S., Inc.’s consent. You acknowledge that your work will be
             17          regarded as “work made for hire” as that term is used in the United States
                         Copyright Laws and be owned by Les Mills Media U.S., Inc. . . .
             18
                         You [Fournier] acknowledge and understand that California employees owe their
             19          employers a fiduciary duty of loyalty, and that while employed by the Company . . .
                         you must give preference to the Company to all business. If You [Fournier] engage
             20          in any outside employment, you will immediately notify Les Mills. Further, to
                         protect Les Mills’ confidential information, proprietary information, trade secrets,
             21          and business interest, if you engage in outside employment, you agree to, and
                         understand the following:
             22
                                    •   Outside employment must not interfere with your work performance
             23                         or work schedule;

             24                     •   You [Fournier] may not use the Company’s property, trademarks,
                                        brand, or reputation in connection with any outside employment;
             25
                                    •   You [Fournier] must comply with all of the Company’s policies,
             26                         including those relating to conflicts of interest, confidentiality, and
                                        protection of confidential, proprietary, and trade secret
             27                         information; and
             28                     •   During Term, and any subsequent employment by the Company,

                                                                -8-                                               Case No.
18094171.1                                                   COMPLAINT
                      Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 9 of 43




              1                         you may not engage in any outside employment for an employer that
                                        the Company, acting reasonably considers: is a major competitor of
              2                         the Les Mills Group; or otherwise competes with the Les Mills
                                        Group, without prior written consent of the Company.
              3

              4 (Early Stage Ventures Lead Agreement, at 2 (emphasis added).)

              5    Defendant Fournier negotiates a new position with Les Mills U.S., simultaneously interviews
              6    with direct competitors, downloads Confidential and Trade Secret Information, and resigns.
              7           29.   Unbeknownst to Les Mills, on or about June 17, 2021, using an almost two-year

              8 old email where Fournier had been introduced to Carl Daikeler, the CEO of the Beachbody

              9 Company, Inc. (“Beachbody”) – a direct competitor of Les Mills – Fournier sent an email
             10 reintroducing himself to Mr. Daikeler. In that email, Fournier explained that he had been “leading

             11 Les Mills on-demand and the entire direct-to-consumer portfolio of Les Mills Media” and

             12 explained that he was “looking for new opportunities with local companies.” In subsequent emails,

             13 Fournier was introduced to Beachbody’s Senior Vice President, Chief of Staff, Matthew Halpern,

             14 who helped set up a further meeting with Mr. Daikeler. Reimbursed for travel expenses by

             15 Beachbody, Fournier arranged to fly to Los Angeles on July 8, 2021, to spend the day in Los

             16 Angeles and meet with Mr. Daikeler and other Beachbody executives. As a preface to the call, on

             17 July 7, 2021, Mr. Halpern wrote to Mr. Fournier: “Look forward to tomorrow. I know Carl will

             18 want to discuss what opportunities are out there that we are not doing, what is Les Mills doing

             19 right now that we are not, and what you see and what we are/are not doing right. So, essentially

             20 what we discussed. If you have any slides or visuals[,] we will be able to project.” (emphasis

             21 added).

             22           30.   Unbeknownst to Les Mills, via email, on June 21, 2021, Fournier reached out to

             23 Alberto Perlman, co-founder and CEO of Zumba Fitness, LLC (“Zumba”). On information and

             24 belief, while Zumba had typically licensed and was used by instructors for in-person group

             25 classes, similar to Les Mills during the COVID-19 pandemic, Zumba had launched an online

             26 platform for customers to take virtual classes to workout with trainers from home. On information

             27 and belief, after trading emails, Fournier spoke with Mr. Perlman on or about June 25, 2021, and

             28 offered to fly to Florida to meet him. On or about July 20, 2021, with respect to his exploring

                                                               -9-                                           Case No.
18094171.1                                                  COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 10 of 43




              1 executive employment other than with Les Mills U.S., Fournier sent an email to Mr. Perlman

              2 explaining that “I’m looking at making a decision end of August, September timeframe. Let me

              3 know if you think it would be valuable to brainstorm further with you and your team about

              4 business potential?”

              5          31.    During this same time period, in or around June of 2021, Fournier notified Les

              6 Mills that “for personal reasons,” he was considering resigning from his position as CEO of the

              7 company and that he may no longer wish to continue in his full-time role with the company. To

              8 support Fournier and give him space to consider his future Les Mills U.S. offered Fournier two

              9 months paid leave.
             10          32.    After indicating to Les Mills U.S. and LMI that he was considering stepping down
             11 as the CEO of Les Mills U.S. in June of 2021, Fournier took paid leave from July 1, 2021 through

             12 August 31, 2021, while still serving as the CEO of Les Mills U.S.

             13          33.    While Les Mills U.S. was still paying him as CEO, on July 13, 2021, Fournier
             14 traded emails with Carl Daikeler of Beachbody regarding due diligence that Les Mills U.S. had

             15 done on the fitness app company iFit (formerly ICON Health and Fitness, based in Utah), whose

             16 brands included NordicTrack, ProForm, Freemotion, Weider, Gold’s Gym, and SWEAT.

             17          34.    On July 30, 2021, while Les Mills U.S. was still paying him as CEO, Fournier also
             18 traded emails with Beachbody President and Co-Founder, Jon Congdon, about strategies related to

             19 how Les Mills had been approaching direct to the consumer online fitness classes.

             20          35.    While Les Mills U.S. was still paying him as CEO, on or about August 10, 2021,

             21 Fournier introduced Carl Daikeler to Chris Vinckier, Vice President, Software Product

             22 Management at VIZIO, an Irvine, California based company that designs and sells televisions,

             23 viewer data, and advertising. In an email, Fournier wrote, “I do believe that BeachBody could

             24 support Vizio strategy on the wellness space. I’ll let you follow up directly with Carl. Carl, [a]s

             25 discussed, Chris is the Head of product reporting to Vizio’s CEO. Chris moved to Vizio a few

             26 months ago from Apple. I do believing [sic] Beachbody app and content would be a good fit to

             27 Vizio’s customer base.” On information and belief, after a call between Mr. Vinckier and Mr.

             28 Daikeler, on August 12, 2021, Mr. Daikeler emailed Fournier the following message:

                                                                -10-                                           Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 11 of 43




              1 “Partnerships and international. That’s where we’re leaning. But we will talk next week. I want

              2 to work with you dude and make shit happen!” (emphasis added).

              3          36.    While Les Mills U.S. was still paying him as CEO, on or about August 15, 2021,

              4 Fournier emailed Mr. Daikeler a first draft of the role description for his future proposed position

              5 at Beachbody, and explained his compensation at Les Mills U.S. Mr. Fournier also confirmed with

              6 Mr. Daikeler on August 16, 2021 that he could start within six weeks of any offer date, where he

              7 could meet with his “interested partners” including LA Fitness, Amazon/Halo, Facebook,

              8 Sketchers, VIZIO, fitness influencers, local fitness leaders, and that Fournier would “further

              9 engage [his] network.”
             10          37.    While Les Mills U.S. was still paying him as CEO, on or about August 17, 2021, in

             11 an email exchange, Carl Daikeler informed Fournier that he wished to “touch base with Phillip

             12 [Phillip Mills, the founder and Executive Director of LMI] as a courtesy. I would want that as a

             13 CEO to CEO, personally if someone was talking to one of my senior execs but wanted to maintain

             14 a good relationship.” On information and belief, Fournier had mentioned to Mr. Daikeler that

             15 Phillip Mills was aware that Fournier was discussing a possible role with Beachbody, and Fournier

             16 dissuaded Mr. Daikeler from contacting Phillip Mills at that time. However, Fournier did not have

             17 any such discussion with Phillip Mills. Instead of telling Mr. Mills that Fournier was seeking

             18 employment with Beachbody as an executive, Fournier’s communication with Mr. Mills about his

             19 contact with Beachbody related to more generic industry networking that would benefit LMI and

             20 further that Mr. Daikeler (not Fournier) had initiated the possibility of Fournier coming to work

             21 for Beachbody. Further, on information and belief, rather than have Mr. Daikeler and Mr. Mills

             22 speak to each other, Fournier instead encouraged Mr. Daikeler to speak with certain directors of

             23 the LMI board or others with whom Fournier had worked.

             24          38.    While Les Mills U.S. was still paying him as CEO, five days later, on or about

             25 August 22, 2021, Fournier wrote an email about his potential future role as the Early Stage

             26 Ventures Lead at Les Mills U.S., including “lead[ing] executive engagement” with Google, Fit

             27 Bit, Google TV, YouTube, Apple, Amazon, and Facebook, as well as engaging with startups and

             28 venture capital firms like Kleiner Perkins, Sequoia, and Goldman Sachs.

                                                                -11-                                          Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 12 of 43




              1          39.    In sum, by August 2021, while planning to leave Les Mills U.S. to find a new

              2 executive or CEO role, on information and belief, Fournier was already sharing Les Mills’

              3 confidential information, Les Mills’ business strategies, and Les Mills’ opportunities in

              4 discussions with companies that provide similar fitness products, media, trainings, and services to

              5 Les Mills, including Beachbody, Zumba, Hygear, and Lululemon Athletica, Inc.

              6          40.    Critically, while on his two month paid leave from Les Mills U.S. and while he was

              7 searching and interviewing for leadership employment with other fitness companies like

              8 Beachbody that desired to expand on-demand and direct-to-consumer fitness media, in August

              9 2021, Fournier started reviewing and downloading troves of Les Mills’ proprietary, trade secret,
             10 and other confidential files. More specifically, during this time period, Fournier downloaded

             11 thousands of Les Mills electronic files to his work laptop computer and his personal home

             12 computer– containing some of Les Mills’ most critical Confidential and Trade Secret Information.

             13          41.    Based on Les Mills’ preliminary and ongoing forensic investigation, Fournier
             14 accessed, read, and/or downloaded approximately 900 confidential files related to Les Mills’

             15 music licensing arrangements on his laptop computer on August 31, 2021. He also accessed, read,

             16 and/or downloaded approximately 454 files containing Les Mills’ confidential music licensing

             17 agreements to his laptop computer on August 31, 2021. In addition, between August 16, 2021 and

             18 August 23, 2021, Fournier accessed, read, downloaded, and/or deleted more than 6,000 files

             19 containing Les Mills’ Confidential and Trade Secret Information on his work laptop computer and

             20 his personal home computer. These files included board papers, strategy documents (including

             21 various Les Mills group, product, and department strategy documents), key financial documents,

             22 and music license agreements. Les Mills’ forensic investigation is ongoing.

             23          42.    The details of Les Mills’ music licensing arrangements are critical information to

             24 Les Mills’ business that Fournier would have had no reason to access in his role as CEO of Les

             25 Mills U.S. or in his part-time role with the company. Tellingly, Les Mills’ technology records

             26 show that Fournier had not accessed the confidential files related to its music licensing

             27 arrangements for over a year prior to his recent access to those files before he resigned from the

             28 company.

                                                                -12-                                         Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 13 of 43




              1          43.    Upon his return to Les Mills U.S. in or around September 1, 2021, Fournier

              2 confirmed his decision that he no longer wished to serve as Les Mills U.S.’ CEO. Again at Mr.

              3 Fournier’s initiation, Fournier and LMI entered into negotiations to create a part-time position at

              4 Les Mills U.S. for Fournier where he would only work two to three days per week rather than full

              5 time. Mr. Fournier indicated that he hoped to “explore other board governance opportunities,” in

              6 addition to his new part-time role at Les Mills U.S. At this time, Les Mills did not know that Mr.

              7 Fournier had been taking company data and opportunities, and sharing information with

              8 competitors.

              9          44.    On or about September 4, 2021, LMI sent Fournier an offer letter for the position of
             10 Early Stage Ventures Lead. On or about September 7, 2021, Mr. Fournier signed the Early Stage

             11 Ventures Lead Agreement, which had 9-month term and, among other things, obligated Mr.

             12 Fournier to keep confidential information regarding Les Mills. (See paragraph 28, above.) The

             13 Early Stage Ventures Lead Agreement also specifically outlined Fournier’s duty of loyalty to Les

             14 Mills, wherein Fournier acknowledged that he was to give preference to Les Mills U.S. to all

             15 business opportunities, and that while employed by Les Mills U.S., Fournier was prohibited from

             16 working for competitors. (See id.)

             17          45.    On September 8 and 9, 2021, a day after Fournier began as Les Mills U.S.’ Early
             18 Stage Ventures Lead, he traded emails with Mark Smith, a former director of LMI, about

             19 Beachbody Chief Strategy Officer, Kathy Vrabeck, calling Mr. Smith as a reference check for Mr.

             20 Fournier.

             21          46.    On Monday, October 18, 2021, Fournier sent LMI CEO, Clive Ormerod, a text

             22 message indicating his intent to resign from Les Mills U.S. later that month. At this time, Fournier

             23 had not told Les Mills that he had accepted a job with a competitor in a similar role as his CEO

             24 role at Les Mills U.S.

             25          47.    One week later, while still employed by Les Mills U.S., on October 25, 2021,

             26 Fournier communicated with Anthanase Kollias, CEO of K-Invent, about a potential project with

             27 Google. Fournier had previously served on K-Invent’s advisory board as an expert, and as Les

             28 Mills U.S.’ CEO, and informed Mr. Kollias on October 25, 2021 that: “I’m going to Beachbody, a

                                                               -13-                                          Case No.
18094171.1                                                  COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 14 of 43




              1 nutrition and fitness company in LA.”

              2         48.     Tellingly, on October 29, 2021 – Mr. Fournier’s final day of employment with Les

              3 Mills U.S – Fournier downloaded a document containing details of Les Mills’ direct to consumer

              4 business overview, strategies, plans, and ambitions.

              5    Defendant Fournier takes job with direct competitor, Beachbody, and downloads additional
              6                     Confidential and Trade Secret Information from Les Mills
              7         49.     On October 31, 2021, days after Fournier had resigned from Les Mills U.S., using
              8 his Les Mills U.S. credentials, Fournier illegally downloaded three additional Les Mills files

              9 containing Confidential and Trade Secret Information to his personal desktop computer located at
             10 his home. The files that Fournier downloaded to his personal desktop included confidential music

             11 licensing information, information regarding Les Mills’ high season offers and scenario planning

             12 for its direct-to-consumer online fitness programs (which directly competes with Beachbody’s

             13 service), as well as internal product management meeting presentation materials.

             14         50.     The very next day, November 1, 2021, Beachbody issued a press release about
             15 Fournier accepting a new job with it as its President, Global Partnerships and Corporate

             16 Development, effective November 1, 2021. In the press release, Fournier is quoted as follows:

             17 “Beachbody’s integrated fitness and nutrition offering, broad customer base and expansive library

             18 of IP provide an incredible foundation to expand the Company’s reach and drive meaningful

             19 growth . . . I look forward to enhancing the Company’s value proposition through strategic

             20 partnerships and other opportunities to bring Beachbody’s unmatched offering to millions more

             21 customers.”

             22         51.     On November 1, 2021, Fournier changed his LinkedIn page to reflect his new

             23 position with Beachbody.

             24       Fournier deletes and destroys all information on his laptop computers and iPad before
             25    returning them to Les Mills U.S., and fails to provide adequate assurances that Confidential
             26   and Trade Secret Information was not uploaded or backed up to a cloud-based storage account
             27                                  or other electronic storage device.
             28         52.     On or about November 2, 2021, LMI became aware that Fournier had started

                                                               -14-                                          Case No.
18094171.1                                                  COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 15 of 43




              1 working for one of LMI’s direct competitors, Beachbody, where he would be responsible for areas

              2 directly competitive to Les Mills’ business. The same day, LMI’s CEO Clive Ormerod called Mr.

              3 Fournier to remind him of his ongoing obligations of confidentiality and non-disclosure.

              4          53.    On or about November 2, 2021, LMI initiated a forensic examination of Mr.

              5 Fournier’s Les Mills accounts and emails to determine whether there had been any unauthorized

              6 access to or downloads of Les Mills’ confidential, proprietary, or trade secret information. On or

              7 about November 2, 2021, Fournier was contacted by Caitlin Clemens, Vice President People &

              8 Culture for Les Mills United States Trading, Inc. (“LMUST”), a subsidiary of LMI, about

              9 returning his devices and related digital media to Les Mills U.S. Fournier said he would FedEx
             10 them to her and Ms. Clemens confirmed the shipping address.

             11          54.    On November 8, 2021, Ms. Clemens contacted Mr. Fournier to request tracking
             12 details for the devices he was returning. Mr. Fournier advised that he had not yet shipped them.

             13 On November 9, 2021, Ms. Clemens contacted Fournier to arrange for a time when Fournier

             14 would be home so that his Les Mills U.S.-issued devices could be picked up by a courier.

             15          55.    On November 9, 2021, through its agents at First Legal, Les Mills collected
             16 Fournier’s MacBook Pro laptop computer and his iPad 12 from Fournier directly. On or about

             17 November 12, 2021, following chain-of-custody protocol, a forensic examination by Plaintiffs’

             18 retained computer forensics firm, Digital Mountain, revealed that Fournier had destroyed evidence

             19 by completing a hard reset (i.e., factory default reset) of both devices prior to turning them over to

             20 Les Mills’ agents (First Legal, Hanson Bridgett LLP, and Digital Mountain), leaving both devices

             21 fully encrypted and unable to be forensically examined. In addition, Fournier’s iPad was returned

             22 in a damaged physical state and appeared to have been dropped.

             23          56.    On or about November 11, 2021, LMI’s CEO, Clive Ormerod, called Fournier to

             24 tell him that Les Mills knew that Fournier had accessed and downloaded confidential and highly

             25 sensitive information prior to leaving the company. Mr. Ormerod told Fournier that Les Mills was

             26 required to take reasonable measures to protect its trade secret information. Mr. Ormerod

             27 specifically referenced information related to Les Mills’ music licensing agreements, board

             28 information, and strategy papers. On information and belief, Mr. Fournier reviewed Les Mills’

                                                                -15-                                           Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 16 of 43




              1 files on his personal desktop computer during his telephone call with Ormerod.

              2          57.     On November 12, 2021, Les Mills, through its counsel Hanson Bridgett LLP, wrote

              3 to Fournier via email at 9:20 a.m. asking him or his attorney “to arrange for immediate return of

              4 all Les Mills’ confidential information, along with a coordinated forensically sound permanent

              5 deletion of any copies using Les Mills approved protocols.” In this communication, Fournier was

              6 informed that Les Mills had initiated a digital forensic review and Fournier was asked not to share

              7 any Les Mills information, and to preserve any such information in its as-is state. The cover email

              8 to Mr. Fournier stated, “[a]fter reviewing the attached letter, please contact me to arrange for

              9 immediate return of all Les Mills’ confidential information, along with a coordinated forensically
             10 sound permanent deletion of any copies using Les Mills approved protocols.” The letter attached

             11 to the cover email further stated: “I write to remind you of your post-employment obligation to

             12 keep all Les Mills’ proprietary information, trade secrets, and related information confidential. . . .

             13 Moreover, if you still have any of this information in your possession, custody, or control, you

             14 must preserve and immediately return it – along with any devices upon which this information

             15 might be stored. If this information has been moved to a server or cloud account, you must provide

             16 immediate access so that Les Mills can ensure forensically sound removal of this data.”

             17          58.     Later that same day, at approximately 11:53 a.m. on November 12, 2021, Les
             18 Mills, through its agents (First Legal), arranged for a second MacBook Pro laptop to be picked up

             19 from Mr. Fournier’s home. This laptop was a laptop that Mr. Fournier previously used for his

             20 work for Les Mills U.S. Before returning the device to Les Mills U.S., however, Fournier again

             21 initiated a factory reset to encrypt the information on the device, to erase his activity on the laptop,

             22 and to prevent the data on the laptop from being recovered. This second laptop computer was also

             23 returned in physically damaged condition. In the evening on November 12, 2021, Les Mills’ agent

             24 (Hanson Bridgett LLP) issued a still more formal demand for preservation of evidence and

             25 litigation hold to Mr. Fournier.

             26          59.     Through additional communications between counsel for Les Mills and Fournier

             27 from November 16, 2021 through December 7, 2021, Les Mills further attempted to protect its

             28 Confidential and Trade Secret Information by requesting that Fournier agree to a protocol whereby

                                                                 -16-                                           Case No.
18094171.1                                                    COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 17 of 43




              1 Fournier would turn over to a third party forensic examination firm all devices and iCloud account

              2 backups, iTunes backups, backups to other cloud accounts, backups to networks or servers, and

              3 backups to portable drives on which Fournier had stored Confidential and Trade Secret

              4 Information so that they could be forensically examined for any Les Mills Confidential or Trade

              5 Secret Information. Les Mills also requested that Fournier execute a declaration containing the

              6 basic facts of his downloads and subsequent actions with respect to Les Mills’ Confidential and

              7 Trade Secret Information.

              8          60.     To date, Fournier has rebuffed Les Mills’ efforts to obtain the necessary access to

              9 his devices and files so that Les Mills can ensure that Fournier no longer has access to or copies of
             10 its Confidential and Trade Secret Information.

             11          61.     Apart from his return of his hard reset (i.e., wiped) laptops and iPad, Fournier has
             12 failed to provide Les Mills with access to any of his other electronic devices that might contain

             13 Les Mills’ Confidential and Trade Secret Information. Moreover, because he deleted all of the

             14 files from his laptops and iPad, and left those devices completely unavailable for forensic

             15 examination, Les Mills has no information about whether Fournier backed up any of Les Mills’

             16 Confidential and Trade Secret Information to other devices or cloud-based storage accounts before

             17 returning his wiped devices.

             18          62.     Les Mills thus has no recourse but to bring this action. Fournier works for Les

             19 Mills’ competitor, Beachbody, and Les Mills’ forensic examination to date shows that Fournier

             20 copied thousands of files of its Confidential and Trade Secret Information right before he went to

             21 work for Beachbody. Moreover, Fournier has failed to provide Les Mills with sufficient

             22 information regarding whether Fournier still maintains access to the more than 7,350 files he

             23 improperly downloaded and accessed prior to him leaving Les Mills U.S.

             24                                         First Cause of Action
             25                (Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.)
             26                                        Brought by All Plaintiffs
             27          63.     Plaintiffs re-allege and incorporate by reference each and every allegation

             28 contained in paragraphs 1 through 62 of this Complaint.

                                                                -17-                                           Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 18 of 43




              1          64.    As set forth above, over many years and at significant cost, Les Mills developed its

              2 Confidential and Trade Secret Information, including business strategies, strategic business

              3 relations, customer information, licensing, product strategies, and proprietary processes. More

              4 specifically, Les Mills’ Confidential and Trade Secret Information consists of privileged internal

              5 communications, financial statements, prospective customer bids, confidential business

              6 agreements, details about potential new business opportunities, internal pricing information,

              7 detailed customer account information, strategic planning information, operational plans, sales

              8 targets, information regarding strategic alliances, and music licensing agreements. This

              9 Confidential and Trade Secret Information comprises “trade secrets” under the Defend Trade
             10 Secrets Act, 18 U.S.C. § 1836, et seq. Les Mills is the owner of its Confidential and Trade Secret

             11 Information.

             12          65.    Les Mills’ Confidential and Trade Secret Information gives it a competitive
             13 advantage over potential and existing competitors, including Beachbody. Such information derives

             14 significant, independent economic value from not being generally known to the public, to Les

             15 Mills’ competitors, or to other persons who would benefit from the disclosure or use of the

             16 information.

             17          66.    Les Mills’ Confidential and Trade Secret Information is not readily ascertainable
             18 through proper means or from generally available, public sources.

             19          67.    At all relevant times, Les Mills has made reasonable efforts to preserve the

             20 confidentiality of its Confidential and Trade Secret Information. Confidentiality obligations are

             21 included in all employment agreements and company-issued laptops are password protected, as is

             22 Les Mills’ network. Les Mills has also taken reasonable steps to protect its Confidential and Trade

             23 Secret Information through its CEO Agreement, End of Full Time Employment Agreement, and

             24 Early Stage Ventures Lead Agreement with Fournier. (See paragraphs 22-28.)

             25          68.    Fournier has misappropriated trade secrets within the meaning of 18 U.S.C.

             26 § 1839(5) by using improper means to acquire Confidential and Trade Secret Information when he

             27 knew or had reason to know that his knowledge of Confidential and Trade Secret Information was

             28 acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use. Fournier

                                                                -18-                                            Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 19 of 43




              1 wrongfully acquired the Confidential and Trade Secret Information by downloading and

              2 potentially transferring Confidential and Trade Secret Information – such as board papers, strategy

              3 documents (including various Les Mills group, product, and department strategy documents), key

              4 financial documents, and music license agreements – to his laptop and desktop computers, and

              5 potentially to his iCloud account, iTunes account, other cloud accounts, and/or to networks,

              6 servers, or other portable drives in violation of the CEO Agreement. That he did so wrongfully is

              7 confirmed by, among other things, the deliberate fashion in which he selected the information to

              8 be transferred, the dates of his downloads, the steps he took to cover his tracks by performing hard

              9 resets on his laptop computers and iPad, and his attempts to downplay what he had done with
             10 representations contrary to the forensic evidence.

             11          69.    On information and belief, Fournier still maintains possession or access to Les
             12 Mills’ Confidential and Trade Secret Information, and poses a threat to use or disclose that

             13 information. Given that Fournier now works for Les Mills’ direct competitor, Beachbody, he

             14 poses a serious risk of improper use or disclosure of trade secrets.

             15          70.    On information and belief, Fournier has gained, or will gain, substantial benefit
             16 from his misappropriation of Les Mills’ Confidential and Trade Secret Information, to Les Mills’

             17 substantial detriment.

             18          71.    As a result of Fournier’s unlawful conduct, Les Mills’ Confidential and Trade

             19 Secret Information has been compromised, and Les Mills is substantially threatened by Fournier’s

             20 further use and/or dissemination of that information.

             21          72.    As a direct and proximate result of Fournier’s misappropriation of the Confidential

             22 and Trade Secret Information, Les Mills has suffered and will continue to suffer damages in an

             23 amount to be proven at trial.

             24          73.    On information and belief, Fournier’s unlawful actions were willful and malicious,

             25 and with the deliberate intent to injure Les Mills’ business, thereby entitling Les Mills to

             26 exemplary damages and/or attorneys’ fees in an amount to be proven at trial under 18 U.S.C.

             27 § 1836(b)(3)(C)-(D).

             28          74.    Les Mills has suffered and will continue to suffer irreparable harm as a result of

                                                                -19-                                           Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 20 of 43




              1 Fournier’s actual and threatened misappropriation. Because Les Mills has no adequate remedy at

              2 law for this present and future harm, it is entitled to an order prohibiting Fournier from using or

              3 disclosing, or threatening to use or disclose, Les Mills’ Confidential and Trade Secret Information,

              4 from deleting any of Les Mills’ Confidential and Trade Secret Information, and from obtaining

              5 any benefit from his wrongful possession and use of the Confidential and Trade Secret

              6 Information. Unless enjoined by this Court, said misappropriation of Les Mills’ Confidential and

              7 Trade Secret Information, actual or threatened, will cause great and irreparable injury to Les Mills.

              8                                           Second Cause of Action
              9       (Violation of California’s Uniform Trade Secrets Act, Cal. Civ. Code § 3426, et seq.)
             10                                       Brought by All Plaintiffs
             11          75.    Plaintiffs re-allege and incorporate by reference each and every allegation

             12 contained in paragraphs 1 through 74 of this Complaint.

             13          76.    As set forth above, over many years and at significant cost, Les Mills developed its

             14 Confidential and Trade Secret Information, including business strategies, strategic business

             15 relations, customer information, licensing, product strategies, and proprietary processes. More

             16 specifically, Les Mills’ Confidential and Trade Secret Information consists of privileged internal

             17 communications, financial statements, prospective customer bids, confidential business

             18 agreements, details about potential new business opportunities, internal pricing information,

             19 detailed customer account information, strategic planning information, operational plans, sales

             20 targets, information regarding strategic alliances, and music licensing agreements. This

             21 Confidential and Trade Secret Information comprises “trade secrets” under the California Uniform

             22 Trade Secrets Act, Cal. Civ. Code § 3426, et seq. Les Mills is the owner of its Confidential and

             23 Trade Secret Information.

             24          77.    Les Mills’ Confidential and Trade Secret Information gives it a competitive

             25 advantage over potential and existing competitors, including Beachbody. Such information derives

             26 significant, independent economic value from not being generally known to the public, to Les

             27 Mills’ competitors, or to other persons who would benefit from the disclosure or use of the

             28 information.

                                                                -20-                                            Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 21 of 43




              1          78.    Les Mills’ Confidential and Trade Secret Information is not readily ascertainable

              2 through proper means or from generally available, public sources.

              3          79.    At all relevant times, Les Mills has made reasonable efforts to preserve the

              4 confidentiality of its Confidential and Trade Secret Information. Confidentiality obligations are

              5 included in all employment agreements and company-issued laptops are password protected, as is

              6 Les Mills’ network. Les Mills has also taken reasonable steps to protect its Confidential and Trade

              7 Secret Information through its CEO Agreement, End of Full Time Employment Agreement, and

              8 Early Stage Ventures Lead Agreement with Fournier. (See paragraphs 22-28.)

              9          80.    Fournier has misappropriated trade secrets within the meaning of Cal. Civ. Code
             10 § 3426.1(b) by using improper means to acquire Confidential and Trade Secret Information when

             11 he knew or had reason to know that his knowledge of Confidential and Trade Secret Information

             12 was acquired under circumstances giving rise to a duty to maintain its secrecy or limit its use.

             13 Fournier wrongfully acquired the Confidential and Trade Secret Information by downloading and

             14 potentially transferring Confidential and Trade Secret Information – such as board papers, strategy

             15 documents (including various Les Mills group, product, and department strategy documents), key

             16 financial documents, and music license agreements – to his laptop and desktop computers, and

             17 potentially to his iCloud account, iTunes account, other cloud accounts, and/or to networks,

             18 servers, or other portable drives in violation of the CEO Agreement. That he did so wrongfully is

             19 confirmed by, among other things, the deliberate fashion in which he selected the information to

             20 be transferred, the dates of his downloads, the steps he took to cover his tracks by performing hard

             21 resets on his laptop computers and iPad, and his attempts to downplay what he had done with

             22 representations contrary to the forensic evidence.

             23          81.    On information and belief, Fournier still maintains possession or access to Les

             24 Mills’ Confidential and Trade Secret Information, and poses a threat to use or disclose that

             25 information. Given that Fournier now works for Les Mills’ direct competitor, Beachbody, he

             26 poses a serious risk of improper use or disclosure of trade secrets.

             27          82.    On information and belief, Fournier has gained, or will gain, substantial benefit

             28 from his misappropriation of Les Mills’ Confidential and Trade Secret Information, to Les Mills’

                                                               -21-                                            Case No.
18094171.1                                                  COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 22 of 43




              1 substantial detriment.

              2          83.    As a result of Fournier’s unlawful conduct, Les Mills’ Confidential and Trade

              3 Secret Information has been compromised, and Les Mills is substantially threatened by Fournier’s

              4 further use and/or dissemination of that information.

              5          84.    As a direct and proximate result of Fournier’s misappropriation of the Confidential

              6 and Trade Secret Information, Les Mills has suffered and will continue to suffer damages in an

              7 amount to be proven at trial.

              8          85.    On information and belief, Fournier’s unlawful actions were willful and malicious,

              9 and with the deliberate intent to injure Les Mills’ business, thereby entitling Les Mills to
             10 exemplary damages under Cal. Civ. Code § 3426.3(c) and/or attorneys’ fees in an amount to be

             11 proven at trial under Cal. Civ. Code § 3426.4.

             12          86.    Les Mills has suffered and will continue to suffer irreparable harm as a result of
             13 Fournier’s actual and threatened misappropriation. Because Les Mills has no adequate remedy at

             14 law for this present and future harm, it is entitled to an order prohibiting Fournier from using or

             15 disclosing, or threatening to use or disclose, Les Mills’ Confidential and Trade Secret Information,

             16 from deleting any of Les Mills’ Confidential and Trade Secret Information, and from obtaining

             17 any benefit from his wrongful possession and use of the Confidential and Trade Secret

             18 Information. Unless enjoined by this Court, said misappropriation of Les Mills’ Confidential and

             19 Trade Secret Information, actual or threatened, will cause great and irreparable injury to Les Mills.

             20                                        Third Cause of Action
             21                                         (Breach of Contract)
             22                                 Brought by Plaintiff Les Mills U.S.
             23

             24          87.    Plaintiff Les Mills U.S. re-alleges and incorporates by reference each and every

             25 allegation contained in paragraphs 1 through 86 of this Complaint.

             26          88.    As a condition of his employment with Les Mills U.S., Fournier signed and agreed

             27 to abide by the terms of the CEO Agreement, the End of Full Time Employment Agreement, and

             28 the Early Stage Ventures Lead Agreement, each of which prohibited Defendant from, among other

                                                                -22-                                           Case No.
18094171.1                                                   COMPLAINT
                        Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 23 of 43




              1 things, using or disclosing Les Mills’ Confidential and Trade Secret Information. (See paragraphs

              2 22-28, above.)

              3            89.     Les Mills U.S. has done all, or substantially all, of the significant things that the

              4 CEO Agreement, End of Full Time Employment Agreement, and Early Stage Ventures Lead

              5 Agreement required it to do by, among other things, employing Mr. Fournier.

              6            90.     All conditions required for Fournier’s performance under the CEO Agreement and

              7 Early Stage Ventures Lead Agreement have occurred or were excused.

              8            91.     In Section 8(c) of the CEO Agreement, Fournier agreed that

              9            during his employment and for a period of two (2) years thereafter, he will hold in
                           confidence all Confidential Information3 of the Company and the Associated
             10            Companies that came into his knowledge during his employment by the Company
                           and will not disclose, publish[,] or make use of such Confidential Information
             11            without the prior written consent of the Company, except to the extent disclosure of
                           Confidential Information is mandated by a court order or is otherwise necessary to
             12            comply with applicable laws.

             13            92.     In Section 8(d) of the CEO Agreement, Fournier further agreed

             14            to hold in confidence all Trade Secrets 4 of the Company and the Associated
                           Companies that came into his knowledge during his employment by the Company
             15            and shall not disclose, publish, or make use of at any time after the date hereof such
                           Trade Secrets without the prior written consent of the Company for as long as the
             16            information remains a Trade Secret, except to the extent disclosure of a Trade
                           Secret is mandated by a court order or is otherwise necessary to comply with
             17            applicable laws.

             18            93.     In Section 9 of the CEO Agreement, Fournier agreed that

             19            All records, designs, patents, business plans, financial statements, manuals,
                           memoranda, customer lists, computer data, computer information, and other
             20            property or information delivered to or compiled by [Fournier] by or on behalf of
                           the Company (including the respective subsidiaries thereof) or its representatives,
             21            vendors[,] or customers shall be and remain the property of the Company, and be
                           subject at all times to its discretion and control. Upon the request of the Company
             22            and in any event, upon the termination of [Fournier’s] employment with the
                           Company, [Fournier] shall deliver all such materials to the Company. (Emphasis
             23            added.)

             24            94.     Through the End of Full Time Employment Agreement, Fournier expressly agreed

             25 that his obligations under Sections 8 through 11 and 19 of the CEO Agreement survived

             26

             27   3   See paragraph 24 above for the definition of “Confidential Information” in the CEO Agreement.
             28   4   See paragraph 25 above for the definition of “Trade Secret” in the CEO Agreement.

                                                                   -23-                                             Case No.
18094171.1                                                      COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 24 of 43




              1 termination of the CEO Agreement. (End of Full Time Employment Agreement, ¶ 6.)

              2          95.     Fournier downloaded a large volume of files that fall within the CEO Agreement’s

              3 definitions of Confidential and Trade Secret Information, including, but not limited to, board

              4 papers, strategy documents (including various Les Mills group, product, and department strategy

              5 documents), key financial documents, and music license agreements.

              6          96.     Fournier breached the CEO Agreement and End of Full Time Employment

              7 Agreement by, among other things, deliberately downloading Les Mills’ Confidential and Trade

              8 Secret Information to his laptop and desktop computers, and, on information and belief,

              9 potentially by transferring that information to his iCloud account, iTunes account, other cloud
             10 accounts, and/or to networks, servers, or other portable drives, and by failing to return all

             11 Confidential and Trade Secret information to Les Mills U.S. upon his resignation from the

             12 company.

             13          97.     Fournier also threatens future breaches through the use or disclosure of Les Mills’
             14 Confidential and Trade Secret Information. Given that Fournier now works for Les Mills’ direct

             15 competitor, Beachbody, he poses an unacceptable risk of improper use and disclosure of Les

             16 Mills’ Confidential and Trade Secret Information.

             17          98.     In Section 17 of the CEO Agreement, Fournier agreed that any breach of the
             18 confidentiality and trade secret provisions of the CEO Agreement could cause Les Mills U.S.

             19 irreparable harm, entitling it to injunctive relief without posting a bond:

             20          Because of the difficulty of measuring economic losses to the Company as a result
                         of the covenants set forth in Sections 8 through 10, and because of the immediate
             21          and irreparable damage that would be caused to the Company for which monetary
                         damages would not be a sufficient remedy, it is hereby agreed that in addition to all
             22          other remedies that may be available to the Company, at law or in equity, the
                         Company shall be entitled to specific performance and any injunctive or other
             23          equitable relief as a remedy for any breach or threatened breach by [Fournier] of
                         any provision of Sections 8 through 10 without the necessity of posting a bond
             24          unless otherwise required by law.

             25          99.     Les Mills U.S. has suffered and will continue to suffer irreparable harm as a result

             26 Fournier’s actual and threatened breaches. Because Les Mills U.S. has no adequate remedy at law

             27 for this present and future harm, it is entitled to injunctive relief under Section 17 of the CEO

             28 Agreement and other applicable law.

                                                                -24-                                             Case No.
18094171.1                                                   COMPLAINT
                     Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 25 of 43




              1                                        PRAYER FOR RELIEF
              2          WHEREFORE, Les Mills prays for judgment in its favor and against Defendant Fournier,

              3 as follows:

              4          A.     Entry of judgment holding Fournier liable for misappropriation of trade secrets and

              5 breach of contract.

              6          B.     For temporary, preliminary, and permanent injunctive relief requiring that Fournier,

              7 his agents, servants, employees, attorneys, and those in active concert or participation with them

              8 (1) shall not use, share, or disclose any of Les Mills’ Confidential and Trade Secret Information,

              9 (2) shall return to Les Mills all copies of such information, (3) shall not destroy, delete, or modify
             10 any files or documents containing such information, without a court-approved protocol in place,

             11 and (4) shall not destroy, delete, or modify any record concerning how he acquired, used, or

             12 disclosed such information, without a court-approved protocol in place.

             13          C.     For an award of general damages in an amount to be determined at trial.
             14          D.     For an award of special damages in an amount to be determined at trial.
             15          E.     For an award of exemplary damages for willful and malicious appropriation of
             16 trade secrets and attorney’s fees under 18 U.S.C. § 1836(b)(3)(C)-(D) and California Civil Code

             17 §§ 3426.3(c) and 3426.4(a).

             18          F.     For costs of suit.

             19          G.     For any other relief that the Court deems just and proper.

             20 DATED: December 17, 2021                           HANSON BRIDGETT LLP

             21

             22
                                                                By:      /s/ Geoffrey R. Pittman
             23                                                   KURT A. FRANKLIN
                                                                  GEOFFREY R. PITTMAN
             24                                                   Attorneys for Plaintiffs, Les Mills International
                                                                  Limited, Les Mills Music Licensing Limited, Les
             25                                                   Mills Media Limited, and Les Mills Media U.S.,
             26                                                   Inc.

             27

             28

                                                                -25-                                            Case No.
18094171.1                                                   COMPLAINT
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 26 of 43




                        EXHIBIT A




                        EXHIBIT A
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 27 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 28 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 29 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 30 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 31 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 32 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 33 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 34 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 35 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 36 of 43
Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 37 of 43




                        EXHIBIT B




                        EXHIBIT B
            Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 38 of 43


6 September 2021

Jean-Michel Fournier

EMAIL: jean-michel.fournier@lesmills.com


END OF FULL TIME EMPLOYMENT AGREEMENT

Dear Jean-Michel

You have indicated that you do not wish to return to your full-time role as the CEO of Les Mills Media. This
letter agreement (“Letter Agreement”) sets out the terms under which you (“You” or “Your”) and Les Mills
Media U.S. Inc. (the “Company”) (collectively, the “Parties”) agree Your employment agreement with the
Company dated 1 December 2016 (Employment Agreement) has ended, amicably and on mutually
satisfactory terms. Specifically, the Parties agree:

1.   The Employment Agreement ended on 31 August 2021 by mutual agreement of the Parties.

2.   The Company will offer You a nine-month fixed term part time employment contract, with effect from 1
     September 2021 to 31 May 2022, to be documented separately, based on 2 working days per week, at
     your current salary, pro rata to reflect 2 working days per week. Continuation of current benefits (401K
     pro-rated of compensation amount) and expenses reimbursement as current. At your request, the
     Company has, amongst other factors, considered the vesting dates of your allocations in the long-term
     incentive referred to in paragraph 3(b) below in determining the duration of the fixed term employment.

3.   You agree You are not entitled to, and specifically waive any entitlement You may have, under the
     Employment Agreement, to:

        a. the FY22 Short Term Incentive under clause 3(c) of the Employment Agreement (as documented
           in a letter to you on or about 5 May 2021). by You are forfeited for no consideration or payment.
           Your participation in the FY22 STI is forfeited for no consideration or payment; and

        b. the long term incentive scheme as set out in Schedule 5 of the Employment Agreement,
           provided however that shares in the LMI Employee Share Plan (Plan) that have been allocated
           prior to 31 August 2021 and which vest prior to 31 May 2022 (as set out in the Appendix to this
           Letter Agreement) will be paid out on 31 August 2022 (or at end of your fixed term employment,
           whichever is earlier, provided you have not stopped working for the Company for a reason which
           is not an Involuntary Event (as defined in the Plan rules) and are not subject to an investigation
           into a breach of your employment terms) as required by US tax laws. You understand and agree
           that You are solely responsible for any and all liability under state and federal tax laws arising
           from the payments made under the long term incentive, and that the Company makes no
           warranty concerning the treatment of any funds.

4.   You further acknowledge and agree that your participation in the Les Mills International phantom share
     scheme as detailed in the offer letter to You dated 20 July 2019 (LTIP Offer Letter) ends with effect from
     31 August 2021. All Unvested Phantom Shares (as defined in the LTIP Offer Letter) held by You are
     forfeited for no consideration or payment.

5.   No severance is payable with respect to the ending of the Employment Agreement.

6.   You acknowledge that your obligations under Sections 8 through 11 and 19 of your Employment
     Agreement survive termination in accordance with their terms. To enable the Company to exercise its
     rights under Section 11 of your Employment Agreement, You agree to notify the Company if you accept
     employment or agree to provide services to a competitor of the Company or Les Mills Group.

7.   You and the Company acknowledge and agree that this Letter Agreement constitutes a full, final, and
     complete settlement of differences relating to the subject matter hereof and supersedes and replaces
     any and all other written or oral exchanges, agreements, understandings, arrangements, or negotiations
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             Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 39 of 43


     relating to the subject matter hereof.

8.   No provision of this Letter Agreement may be changed, altered, modified, or amended except in
     writing signed by You and a duly authorized representative of the Company.

9.   If any action at law or in equity is necessary to enforce or interpret the terms of this Letter Agreement,
     the prevailing party will be entitled to reasonable attorneys’ fees, costs and necessary disbursements in
     addition to any other relief to which such party may be entitled.

10. THE PARTIES AGREE THAT ANY AND ALL DISPUTES ARISING OUT OF THE TERMS OF THIS LETTER
    AGREEMENT, THEIR INTERPRETATION, AND ANY OF THE MATTERS HEREIN RELEASED, SHALL BE
    SUBJECT TO ARBITRATION IN SAN FRANCISCO COUNTY, BEFORE JUDICIAL ARBITRATION &
    MEDIATION SERVICES ("JAMS"), PURSUANT TO ITS EMPLOYMENT ARBITRATION RULES &
    PROCEDURES ("JAMS RULES"). THE ARBITRATOR MAY GRANT INJUNCTIONS AND OTHER RELIEF
    IN SUCH DISPUTES. THE ARBITRATOR SHALL ADMINISTER AND CONDUCT ANY ARBITRATION IN
    ACCORDANCE WITH CALIFORNIA LAW, INCLUDING THE CALIFORNIA CODE OF CIVIL
    PROCEDURE, AND THE ARBITRATOR SHALL APPLY SUBSTANTIVE AND PROCEDURAL CALIFORNIA
    LAW TO ANY DISPUTE OR CLAIM, WITHOUT REFERENCE TO ANY CONFLICT-OFLAW PROVISIONS
    OF ANY JURISDICTION. TO THE EXTENT THAT THE JAMS RULES CONFLICT WITH CALIFORNIA
    LAW, CALIFORNIA LAW SHALL TAKE PRECEDENCE. THE DECISION OF THE ARBITRATOR SHALL BE
    FINAL, CONCLUSIVE, AND BINDING ON THE PARTIES TO THE ARBITRATION. THE PARTIES AGREE
    THAT THE PREVAILING PARTY IN ANY ARBITRATION SHALL BE ENTITLED TO INJUNCTIVE RELIEF IN
    ANY COURT OF COMPETENT JURISDICTION TO ENFORCE THE ARBITRATION AWARD. THE
    PARTIES TO THE ARBITRATION SHALL EACH PAY AN EQUAL SHARE OF THE COSTS AND
    EXPENSES OF SUCH ARBITRATION, AND EACH PARTY SHALL SEPARATELY PAY FOR ITS
    RESPECTIVE COUNSEL FEES AND EXPENSES; PROVIDED, HOWEVER, THAT THE ARBITRATOR
    SHALL AWARD ATTORNEYS' FEES AND COSTS TO THE PREVAILING PARTY, EXCEPT AS
    PROHIBITED BY LAW. THE PARTIES HEREBY AGREE TO WAIVE THEIR RIGHT TO HAVE ANY DISPUTE
    BETWEEN THEM RESOLVED IN A COURT OF LAW BY A JUDGE OR JURY. NOTWITHSTANDING THE
    FOREGOING, THIS SECTION WILL NOT PREVENT EITHER PARTY FROM SEEKING INJUNCTIVE
    RELIEF (OR ANY OTHER PROVISIONAL REMEDY) FROM ANY COURT HAVING JURISDICTION OVER
    THE PARTIES AND THE SUBJECT MATTER OF THEIR DISPUTE RELATING TO THIS AGREEMENT AND
    THE AGREEMENTS INCORPORATED HEREIN BY REFERENCE. SHOULD ANY PART OF THE
    ARBITRATION AGREEMENT CONTAINED IN THIS PARAGRAPH CONFLICT WITH ANY OTHER
    ARBITRATION AGREEMENT BETWEEN THE PARTIES, THE PARTIES AGREE THAT THIS ARBITRATION
    AGREEMENT SHALL GOVERN.

If the terms set forth in this Letter Agreement are acceptable, please sign below and return it to Clive
Ormerod clive.ormerod@lesmills.com on or before the close of business on Wednesday 8 September, 2021.

Sincerely,




Phillip Mills
Executive Director, Les Mills International Limited
on behalf of the Board of Les Mills Media U.S. Inc.

ACKNOWLEDGEMENT AND AGREEMENT

I have carefully read, know, understand and agree to the terms and conditions set out in the Letter
Agreement above, including its final and binding effect, and sign voluntarily.



                                                                  September 7th 2021
__________________________________                        ___________________________
Jean-Michel Fournier                                      Date


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        Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 40 of 43



              APPENDIX – LMI Employee Share Plan Shares vesting prior to 31 May 2022


        Number of ESP       Grant Date                Vesting Date           Payment Date
        Shares
   1    701                 31-May-18                 31-May-18              31-Aug-22

   2    3,572               23-May-19                 23-May-22              23-May-22

   3    1,231               31-May-19                 31-May-19              31-Aug-22

   4    908                 31-May-20                 31-May-20              31-Aug-22

   5    1,955               31-May-21                 31-May-21              31-Aug-22




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Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 41 of 43

                        EXHIBIT C




                        EXHIBIT C
                 Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 42 of 43




         6 September 2021


         Jean-Michel Fournier


         By email: jean-michel.fournier@lesmills.com


         Dear Jean-Michel


         We’re delighted to offer you the position of Early Stage Ventures Lead, with Les Mills Media U.S., Inc. (the
         “Company” and together with Les Mills International Limited and its subsidiaries, the “Les Mills Group”). Please
         see below the terms of our offer to you:
         •   Employer: Les Mills Media U.S., Inc
         •   Job Title: Early Stage Ventures Lead
             A copy of the Position Description is attached. Please note that Les Mills Media U.S., Inc and Les Mills
             International Limited reserve the right to change your job duties from time to time.
         •   Term: 1 September 2021 to 31 May 2022 unless terminated earlier by you or the Company or extended by
             mutual written agreement between you and the Company (the "Term"). Notwithstanding the foregoing,
             the Agreement is at-will and either party may terminate this Agreement prior to the expiration of the Term.
             At the conclusion of the Term, the parties agree that you will be deemed to have voluntarily resigned and
             you will not be entitled to any severance payment under your previous employment agreement with Les
             Mills Media U.S., Inc. or otherwise. If the Company terminates your employment at will, the shares in the
             LMI Employee Share Plan which vest in May 2022 will be paid out on 31 August 2022 (or at end of your fixed
             term employment, whichever is earlier) as required by US tax laws.
         •   Annual gross salary: USD          per annum, pro rata from USD$              based on 2 working days per
             week.
         •   Paid time off: Full time employees will accrue paid vacations at the rate of 20 PTO days per year which may
             be accrued up to 160 hours, pro-rata based on 2 working days per week.
         •   Federal holidays: You will be eligible for 8 federal holidays in accordance with company policy.
         •   Sick leave: Full time and part-time employees will be eligible to accrue a maximum of 6 paid sick days (48
             hours) per year in accordance with California State law, pro-rata based on 2 days’ work per week.
         •   Healthcare, vision, dental plan: You have opted to not participate in the Company’s healthcare, vision, or
             dental plan.
         •   401K: You have opted to participate in the Company’s 401K plan. Contributions will be based on the gross
             salary set out above, pro-rata based on 2 working days per week.
         •   Business expenses: The Company will reimburse you for all travel, accommodation, office supplies and
             other genuine business-related expenses reasonably incurred by you in the course of performing your
             duties in accordance with the Company’s usual business expenses reimbursement policy and budget.
             The Company will provide you with a laptop, carry-on bag, printer, mobile phone and pay for any other
             telecommunication related requirements you may have while performing your duties.
         •   Gym membership: The Company will reimburse you up to $49 per month for a gym or wellness
             membership.
         •   Work location: San Jose / Bay area; Travel to Chicago and Auckland, New Zealand will also be required on
             an ongoing basis.



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                  Case 3:21-cv-09736-JD Document 1 Filed 12/17/21 Page 43 of 43




         •   Work hours: 2 days per week or as required to effectively perform your duties taking into account the global
             nature of the Les Mills business.
         •   Confidentiality and Work Product: You agree to keep confidential information regarding Les Mills Media
             U.S., Inc and the Les Mills Group that comes to your attention in the course of performing your duties
             confidential and not to share with any third parties without Les Mills Media U.S., Inc.’s consent. You
             acknowledge that your work product will be regarded as “work made for hire” as that term is used in
             the United States Copyright Laws and be owned by Les Mills Media U.S., Inc. In addition, you may be
             asked to sign a proprietary information and invention agreement with Les Mills Media U.S., Inc. and the Les
             Mills Group.
         •   Employee Duty of Loyalty. You acknowledge and understand that California employees owe their
             employers a fiduciary duty of loyalty, and that while employed by the Company, and consistent with
             California Labor Code, you must give preference to the Company to all business. If You engage in any
             outside employment, you will immediately notify Les Mills. Further, to protect Les Mills’ confidential
             information, proprietary information, trade secrets, and business interest, if you engage in outside
             employment, you agree to, and understand, the following:
                 o   Outside employment must not interfere with your work performance or work schedule;
                 o   You may not use the Company’s property, trademarks, brand, or reputation in connection with
                     any outside employment;
                 o   You must comply with all of the Company’s policies, including those related to conflicts of
                     interest, confidentiality, and protection of confidential, proprietary, and trade secret
                     information; and
                 o   During Term, and any subsequent employment by the Company, you may not engage in any
                     outside employment for an employer that the Company, acting reasonably considers:
                          ▪   is a major competitor of the Les Mills Group; or
                          ▪   otherwise competes with the Les Mills Group, without the prior written consent of the
                              Company.
                      Nothing in this provision is intended to restrict post-employment mobility, as is allowed by law.
         Also, please note that this letter sets forth the terms of your employment with Les Mills Media U.S., Inc. Les Mills
         Media U.S., Inc will be an at-will employer. This means that your employment with the Company may be ended
         by you or the Company at any time, for any reason or for no reason. This letter does not constitute an
         employment contract.
         We are excited about the future and believe you will continue to make a valuable contribution to the success
         of our digital business.
         Best Regards,




         Clive Ormerod
         Chief Executive Officer
         Les Mills International, Ltd




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